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 4                               UNITED STATES DISTRICT COURT

 5                            NORTHERN DISTRICT OF CALIFORNIA

 6                                       OAKLAND DIVISION

 7   MARIA LEE KINSTLEY and KENNETH                       Case No.       C 07-02323 SBA
     R. KINSTLEY,
 8                                                          ORDER DENYING
                           Plaintiffs,                      ADMINISTRATIVE MOTION
 9                                                          TO CONTINUE CASE
            v.                                              MANAGEMENT
10                                                          CONFERENCE
11   CITY & COUNTY OF SAN FRANCISCO,
     CITY OF PLEASANT HILL and DIANNE                        [Docket No. 178]
12   KENNY,
13                         Defendants.
14

15          Plaintiffs filed this action on April 27, 2007. Trial in this case was originally

16   scheduled for February 1, 2010. On December 30, 2009, Defendant Dianne Kenny

17   ("Defendant Kenny") moved to continue the trial date because trial in Plaintiff Maria Lee

18   Kinstley's ("Plaintiff Kinstley") criminal case was also scheduled to commence on February

19   1, 2010. Defendant Kenney, who is an investigator with the San Francisco Attorney's Office

20   and is the lead investigator in Plaintiff Kinstley's criminal case, noted that she would likely be

21   called as a witness in the criminal trial, and therefore would potentially be prevented from

22   testifying in her own defense in this civil matter. (Docket No. 135.) Plaintiff Kinstley

23   opposed Defendant Kenney's motion because she believed her criminal case would be

24   delayed "due to a technical matter." (Docket No. 146.)

25          On January 21, 2010, this Court vacated the trial date and set a telephonic case

26   management conference for March 17, 2010. On March 8, 2010, Plaintiff Kinstley moved to

27   reschedule the March 17, 2010 case management conference because the "State case versus

28   the Kinstley's is currently scheduled for jury selection during the week of March 8, 2010 and
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 1   to begin March 15, 2010 and expected to last four to five weeks." (Docket No. 172.) The
 2   Court granted her request and continued to case management conference to July 29, 2010 at
 3   2:45 p.m.
 4          Plaintiff Kinstley now moves to continue the July 29, 2010 telephonic case
 5   management conference on the grounds that she "will be traveling on the road for work and
 6   unable to make the call." (Docket No. 178.) Plaintiff Kinstley provides no information
 7   concerning the dates, times, and/or places of her travel, nor does she state the reason, if any,
 8   she is unable to participate in the telephonic case management conference from her location.
 9   Given the age of this case, the fact that it has been continued for over three years in deference
10   to Plaintiff Kinstley's criminal proceedings and her requests, the Court denies the request to
11   continue the July 29, 2010 case management conference. The Court intends to reschedule the
12   trial date in this case in order to resolve Plaintiffs' claims. Plaintiffs are expected to prosecute
13   this matter. Accordingly,
14          IT IS HEREBY ORDERED that Plaintiff Kinstley's Administrative Motion to
15   Reschedule the Case Management Conference for July 29, 2010 at 2:45 p.m. is DENIED.
16          This Order terminates Docket No. 178.
17          IT IS SO ORDERED.
18

19   Dated: July 14, 2010                                 _______________________________
20                                                         SAUNDRA BROWN ARMSTRONG
21                                                         United States District Judge
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 1   UNITED STATES DISTRICT COURT
     FOR THE
 2   NORTHERN DISTRICT OF CALIFORNIA
 3
     KINSTLEY ET AL et al,
 4
                    Plaintiff,
 5
       v.
 6
     CITY & COUNTY OF SAN FRANCISCO ET
 7   AL et al,
 8                  Defendant.
                                                 /
 9

10                                                         Case Number: CV07-02323 SBA

11                                                         CERTIFICATE OF SERVICE

12
     I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S. District
13   Court, Northern District of California.

14   That on July 15, 2010, I SERVED a true and correct copy(ies) of the attached, by placing said
     copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by depositing
15   said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
     receptacle located in the Clerk's office.
16

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     Maria Lee Kinstley
19   P.O. Box 126
     Walnut Creek, CA 94597
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21   Dated: July 15, 2010
                                                     Richard W. Wieking, Clerk
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                                                           By: LISA R CLARK, Deputy Clerk
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